Case: 1:10-cv-02453-LW Doc #: 13-1 Filed: 02/18/11 10f13. PagelD #: 155

COUNTY OF RICHLAND

)
) SS: AFFIDAVIT
STATE OF SOUTH CAROLINA )

Cindi Callaham, first having been duly sworn and cautioned, states and deposes
the following:

1. My name is Cindi Callaham.

2. I received the attached letter from attorney Philip D. Althouse dated December 7,
2010, (Exhibit A).

3. I prepared a response to Mr. Althouse in a letter dated December 21, 2010 which
was sent to Mr. Althouse by email. (Exhibit B).

4. The attached exhibits are true and accurate copies of the original documents and
the statements in my letter to Mr. Althouse are true and accurate to the best of my
knowledge and belief.

FURTHER AFFIANT SAYETH NAUGHT.

Cindi Callaham

Sworn to and subscribed before me this Bo day of Pecem ber , 20 19

_ My commission expires oul a — 20) 7 .

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Philip D. Althouse
Attorney

Phone: 440.323.8240
Fax: 440.323.8526
Pdalthouse@lasclev.ong

Cuyahoga County

° & ADMINISTRATIVE OFFICES

1223 West Sixth Sweet
Cleveland, OH 44113

Phone: 216.687.1900
TollFree: €88.817.3777
Fax: 216.687.0779

Ashtabula County

121 Fast Walnut Street
Jetterson, OH 44047

Phone: 440.576.8120
Toll-Free: 866.873.9665
Fax: 440.576.3021

Lake & Geauga Counties

8 North State Street
Suite 500
Painesville, OH 44077
Phone: 440.352.6200
Toll-Free: 888.808.2800
Fax: 440.352.0015

Lorain. County
838 West Broad Street

Suite 300 -
Elyria, Of 44035

Phone: 440.325.8240
Tol-Free: 800.444.7348
Fax: 440.323.8526

www.lasclev.org

"Legal Aid Society

| Hisee (905

7 December 2010

Ms. Cindi Callaham
Sy. Vice President
First Citizens Bank
1230 Main Street
Columbia, SC 29201

RE: Netbank

Ms. Callaham:

This is 2 follow up to a conversation that we had on November 23". I phoned you late that
afternoon and asked a number of questions about Netbank. You told me that you served as
Vice President for Resource Bancshares Morigage Group (RBMGYNetbank from 1994 to
2007 and during the last six years of your employment with the company you were not
involved in mortgage transactions except for a few months in 2007 before Netbank was
placed in receivership by the FDIC. | -

I described transactions and documents that involve a property that is the subject ofa
foreclosure case in which I represent the borrowers. The first transaction was an assignment,
‘from Netbank to MERS which also purportedly involved the transfer of the mortgage note.

I have attached a copy of the document in question as Exhibit 1.. You told me that you
would not have approved such transaction because it was not the policy of RBMG/Netbank ~
to transfer a promissory note via an assignment and you did net transfer promissory noies to

MERS.

] described a “corrective assignment” that was executed this past summer and have attached
a copy of that document as Exhibit 2.. The “corrective assignment” deleted references to
the nots that were contained in the original assignment. You advised me that you were told
by the FDIC that ne one was permitted to execute any ‘documents on behalf of ,
RBMG/Netbank without approval.

Lastly, I discussed with you an indorsement that appeared on the promissory note filed
along with the foreclosure complaint and have attached a copy of the note as Exhibit 3. The

.indorsement in question bears your stamped signature. You told me that you last used that

stamp in 2001 but copies may have been available at a later date.

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Letter fo , 12/7/2010, Page 2 oF 2

lasked if you would have used the indorsement stamp or had someone do it for you this
past summer and you said that you would not. I did not ask but am curious about whether
anyone other than you was authorized by RBMG/Netbank to use the indorsement stamp
in question. [iold you that 1 was confused by the sudden appearance of the indorsement
because the “certified” copy that had been filed in a prior foreclosure case against the
same parties was not indorsed. I have attached a copy of that document as Exhibit 4.

] did not ask you but am curious about why the mortgage assignment in which the note
was also transferred would have been prepared and recorded if the origina! promissory
note was indorsed by you. I would appreciate an answer to that question.

I would greatly appreciate it if you would be willing to provide an affidavit that confirms _
the substance of our discussion and references the attached documents. If so, please let
me know as soon as possible and also advise on whether you would prefer to draft the
document yourself or have me draft it. In the alternative or in addition to the affidavit, I
would be happy to have a local attorncy in Columbia conduct a brief records deposition
so that your testimony could be recorded. Due to time constraints posed by litigation and .
the upcoming holiday, I would like to hear ‘from you by December 16" at the latest.

Thanks for your help and I look forward to your response.

P bee
bt ilip D, Althouse
Attorney

Encl.

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1:10-cv 02453-LW Doc #: 13-1 Filed: 02/18/11 4 of 13. PagelD #: 158

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STATE OF ORIG MIRE #; LOODL440 0008579777
COUNTY OF LORAIN ERS Phons 1-888-679-6377
ASSIGNMENT OF MORTGAGE FROM CORPORATION
KNOW ALL MEN BY THESE PRESENTS: .

That NETBANK .
9719 Tws Notch Rd Columbia Sty 29723-0334 =
A Federal Savings Bank party of ths drst part, in consideration of's soffititend
valuable cousideration received fort cr onbekalfof Mortgage Hlectrostie Registration Syateras, bic.
petty of the second pant, ator before the eusealing and delivery of these presents, the receipt whereof is hereby
acknowledged, does hereby grant, bargain, sell, assign, transfor and set over tito
Mortgage Etectronis Registration Systems, Tne, the sald paaty of the second part ,
whose address Ja G43 18 Milier Rd. Flint MI 45301-2026 tee
_ a cextain wortgage bearing date OB/12A99S made by ft oa
ROGER L. FULLER, A MARRIED MAN, HIS WIFE BARBARA A. FULLER:

and recorded on 03/23/1598

i Ofetal Records BooW1317 , -«-Boeument Number/SH4ees! Conlficate’ Page! and
public records of LORAIN County; Ohio, mpan te following desertbed piece er parcel of

land, situate and being in saig County aod State.
PARCEL IO NUMBER; 06-25-070-1 03-009

LEGAL DESCRIPTION:
Nat Required By County

Together with te note oF obligation deseribed in said mortgage, and the mangys dus and te become due thereon,
sith jnterest from the date aforementioned, “

To Have and to Hold the same unite thd said party of the gevond part, Tis heirs, legal epresentatives, siecessurs
Th Witness Whereof the party af the first part has

and assi aE
t caused these presents to be executed (n its name,
| . - gawd its corporate seal ta be Leseunto affized, by its
in , proper officers therennlo duly authorized.
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it Seosctary WETBANK gree CEOS ns Cane we Mueyl te ey
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wee ee TT = & a %
Signed, seaind and delivered im fee. 3? #® cpap ei 2
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Assistant Vice President : \ 1983 =
% Ms " 3
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Ly = Hen ange
STATE OP SC
COUNTY OF Richland
THEREBY Re that on ths day, before rot ax oftnee duly ehortnd tn te State andSomy aforesaid to
tae acknowledgments personslly appeared A. Monell
and G. Moraat well Ion to me fo be the Assistant Vice President gad

‘Assistant Setcetary reapectively of the corporation named 5s party ofthe first part in the foregoing Insirueent,
and that they severally acknowledged executhig the same in the prestace af hyo subscribing winesses Geely and
voluntarily under authority duly vested in them by seid corporation and that tha geal affixed dhorcto ixthe wus

eorparate seal of said corporakor, . .
WTINESS my bend and official seal in the County-snd Stats last aforesaid this «= Noverntsr 16, 2066

howe ld

«Saez ia N, Nelson Notary Pualic
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Non-conforming document
Per ORC 317114 -
- $26.00 fee

LS&R No.: 201009878
CHL j

CORRECTIVE ASSIGNMENT OF MORTGAGE

THIS ASSIGNMENT IS BEING RECORDED TO REPLACE THE ASSIGNMENT THAT
WAS RECORDED ON 12/08/2006, IN INSTRUMENT NO, 20060179537 TO REMOVE
THE NOTE LANGUAGE.

- KNOW ALL MEN BY THESE PRESENTS, that the undersigned, Netbank, whose —
address is.9718 Two:Notch Road, Columbia, SC (29223, does hereby” Sell, assign, 5 transfer“ind
set over unio: Mortgage Eléttronic Registration: Systems; Hite. ; tts" suecessors and. susie,
whos¢ address ‘is ‘3300 SW 34th Ave., Suite 101; Ocala, FL, 34474 a.ceriain mortgage ‘from
Roger I L. Fuller, a married man, his wife Barbara A. Fuller to Resource Bancshares Mortgage
Group, Inc,, dated March 12, 1998, recorded March 23, 1998, in Instrument No. 9980524665, in
the office of the Lorain County Recorder, and all sums of money due and to become due

/ thereon, and secured by the following real estate:

SITUATED IN THE CITY OF ELYRIA, COUNTY OF LORAIN, AND STATE OF OHIO:

AND KNOWN AS BEING PART OF SUBLOTS NO. 34 AND 35 IN SUMNER B. AND LEE S. DAY’S
SUBDIVISION OF PART GF ORIGINAL ELYRIA TOWNSHIP LOTS NO. 69, 70, 7] AND 73, EAST OF
BLACK RIVER, AS SHOWN BY THE RECORDED PLAT IN VOLUME 5 OF MAPS, PAGE 12 OF
LORAIN COUNTY RECORDS, AND TOGETHER FORMING A PARCEL CF LAND BOUNDED AND -
DESCRIBED AS FOLLOWS: BEGINNING ATA POINT ON THE EASTERLY LINE OF SUMNER
STREET, DISTANCE 90 FEET SOUTHERLY FROM ITS INTERSECTION WITH THE SOUTHERLY
LINE GF CLARK STREET; THENCE EASTERLY ON A LINE OF CLARK STREET ABOQUT 107 FEET
. TO THE EASTERLY LINE OF SAID SUBLOT NO. 34; THENCE SOUTHERLY ALONG SAID
EASTERLY LINE OF SUBLOT NO. 34, 33 FEET-TO-THE NORTHERLY LINE OF LAND CONVEYED
TO ALFRED P.. J. O'DONNELL BY DEED DATED OCTOBER 18, 1917, AND THENCE WESTERLY
ALONG THE NORTHERLY LINE oF LAND 80 CONVEYED 7 TO ALFRED P. 3. @°RONNELL ABOUT.
106.) FEBT-TO THE BASTERLY LINE OF SUMNER STREET: THENCE ‘NORTHERLY ALONG SAID
BASTEREY. LINE OF SUMNER STREET ‘33 FEET TO THE PLACE OF BEGINNING, BE FHE SAME

MORE OR LESS, BUT SUBJECT TO ALL LEGAL HIGHWAYS,

PROPERTY ADDRESS: 225 Sumner Street, Elyria, OH 44035

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IN WITNESS WHEREOF, Netbank has set dis hand on the date set forth below.

Netbank

*Printed Name yviellisha Taytor

FTitle  Aqete dent Sees

Ss.

eof . : , Notary Public,
:  ppeaiy appeared
_, personally kaqwn Tage fcr proved to me on the basis of satisfactory
evidence) to be the person(s) whose name(s) te/are subscribed to the within instrument and
acknowledged to me that he/she/they exeouletey same in hisfher/thelr authorized
capacityties), and that by hishes/their signature(s}-en th} ent the person(s), or the
entity wpon behalf of which the person(s) acted, executed he i ent,

WITNESS my hand and official seal.

Notary Public |
My Commission Expires:
This instrument was prepared by:
LERNER, SAMPSON & ROTHFUSS
A Legal Professional Association
P.O. Box 5480

Cincinnati, OH 45201-5480

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woe

ACKNOWLEDGMENT

State of California }
3 55,

County of Ventura.)

On__June 18, 2010 before Loris Avecisi

personally appeared __ Melissa Tavior, Assistant Seeretary _,

who proved.io me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the wihin instrument and acknowledged to me thal he/she/they executed the same in
hisfher/thelr authorized capacity(les), and that by his/hertheir signature{s) on the instrument the
person(s), or the entily upon behalf of which the personis) acted, executed the Instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct. .

WITNESS my hand Rink
1
Signature bs

>) Seal}
Loris Avedisian

LERNER SAHPSON & ROFHFUSS ~
120 E 4TH ST 8TH FLOOR

FO BOX
GINGINNATI, OH 45273-8256

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RADA cue
HAIGH 42, 1955 {omy {State}
SINBEy, FLA, OTE
Property Addresay

i. BORROWER'S PROMISE 70 PAY
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ey Amaumt at Monthly Payments
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4, BORROWER'S RIGHT TO PREPAY
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5. LOAN CHARGES .
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= dieet pagan ¥a me, Ha tefund meg inehial, tha rod mtb & aS OL paved premeny .

6. BORROWER'S FAILURE TO PAY AS REQUIRED
FA) tate Charge for Urerdtve Payeenis
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‘wil poy this las chiays promply but only ote tn gach Tate payment,
{8} Defavit
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Holder wil sill have the sight to Ge so Of wm in detetg a2 a iter Ee,

{2} Payment of Rote Holder's Caste znd Expanses
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exampls, teacanabs mamoye fost.

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GES FORM - GOConelesresy (05785) Peqed of2 . hrs

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» 7. GIVING OF NOTICES
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by mile by fel cuss niellse ana arthe Proporty Addess above or 3 a diverem edcrese 1 give the Note Holder a noliea of my citerca

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‘exttrass sistod in Section 3/4) above or alm cilerent addess Ff} am given a nota of thal ditererd address,

3. OBLIGATIONS GF PERSONS UNDER THIS NOTE

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individually of agairet ef of ua iogether. Ths tneans that sxy tne of uo may bo requiect jo pay ete! Be arounts opt] onder this Nok.

& WARVERS
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annans the right te neqpite the Note Halder tp Sernand paymany of dus, "Nofcs of dishonor” means freight to oquive the Nole
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16. UNIFORM SECURED NOTE

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[his option shail not ba exercised by Lender if oxsecise is prohibited sy tecerad inv tf of the dase of his Socendy Instimiont.

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Fage 2 of2 Form 3203 War

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225 SUMNER AYA oNtem - ,

1. BORROWER'S PROMISE TO PAY ~° .
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3 INTEREST = * . . . °
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. 3. PAYERRNTS
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of at aciilerant pices required hy sha Nota Hold, -
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4, BORROWER'S RIGHT TO PREPAY:
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"mapaymen whan fame ERrepayrnent, [wit tel the Nota Hodder be arting tiatd am doing so. -
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_ prepayments to Fedora the erount of puinelpel thet Toivs ader tis Nets. (Ft nue a paral preaaiamen, there 8a ba ne changes fn fhe
cu dite oF ith rman of ry en jen als ta a Pole agrese i wating io hgse changes. . 4
5. LOAN CHARGES! Poot .s
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& HOHROWER'S FARURETO PAY AS REQUIRED . 7 ° . ‘
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Althouse, Philip D.

From: Callaham, Cindi [Cindi. Calaham@firstcitizensoniine.com]
Sent: Tuesday, December 21, 2070 11:08 AM

oO: Althouse, Philip D. REE,
Subject: NeiBank * EXHIBIT
Follow Up Flag: Follow up
Flag Status: Red
Attachments: Letter to Philio Athouse 42-21-2010. pdf

Ras :

Letter to Phillp
Althouse 12-2... ou

: Here is my response to your letter dated 12/7/2010. I really have not ether ©
information to offer.

<<Letter to Philip Althouse 12-21-2010.pdf>>

Cindi Callaham

SVP/Major Vendor Relations & Core System Services First Citizens
Phone: (803} 931+1325

Fax: (803) 931-8561

cindi.callaham@firstcitizensonline.com

*Please note: email address of sender has changed to "firstcitizensonline.com"*

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.° December 21, 2010

Legal Aid Society of Cleveland
Philip D, Althouse, Attorney
338 W. Broad Street Suite 300
Elyria, OH 44035

RE: NetBank .
Mr, Althouse:

Tam outlining what I am aware of as far as the use of the blank stamp endorsement with
my signature on it:

1) Sometime in the 1990’s, RBMG begin using a stamped endorsement with my name on
it as I was a Senior Vice President over Mortgage Operations. The PAY TO ORDER OF
was left blank. This was acceptable to our investors. All notes were stamped with this
blank endorsement before the note was sent to our custodian, JPM Chase. I personally
did not stamp the notes.as this was done by staff at RBMG that were part of the
Warehouse group. JPM Chase was the custodian for all the various warehouse lines that
RBMG used and this stamp was required by all our Warehouse Lenders so that their
name could be entered into the PAY TO ORDER OF if the Company went out of
business. At the time of sale of the loan and consequently the payoff of the loan from the
warehouse line, JPM Chase as custodian, completed the PAY TO THE ORDER OF line
with the Investor's name or left it blank if the Investor so instructed. Therefore, I am not
sure why you have a copy of a note with an endorsement and without an endorsement as
all notes should have contained this stamp. However, the Customer’s copy of the note
would not have contained the blank endorsement stamp as this was a back office
requirement related to warehousing and sale of the loan. This process did not change
when RBMG merged with NetBank.

2) In 2001, I changed roles and moved from Operations to Cash Management. However,
since I was still a SVP employed with the Company, as far as I know, the Company
continued to use the stamp with my name on it which would have been acceptable.

3) As far as I know, we never used MERS for the electronic assignment of the note but
did register most of the loans in MERS for assignment of the morigages as this saved the
cost of filing paper assignments at the sale of the loan. All loans required assignment of

_ mortgages in addition to the note endorsement and the assignments of niortgages were
handled by a different area which is why my name would not have necessarily been on
the assignments of mortgages.

4) I do not have any knowledge of what happened to the blank endorsement stamps when
the FDIC took the company into receivership. I assume that these are in the possession
of the FDIC as I also assume that these stamps were still on the premises at Two Notch
Rd at the time of receivership. I personally have-not applied the blank endorsement
stamp on notes in many years. Any changes/corfections to information on notes and
mortgages would have been handled by the FDIC after 9/2007.

5) Outside of what is stated_above, I really do not have any additional information.

Sincerely,

andi Callaham

